                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

VICTORIA LEIGH, ET AL                    §
                             Plain tiff  §
                                         §
v.                                       §
                                         §                No. 5:16 CV 129
SOUTHWESTERN CORRECTIONAL, LLC §
d/b/a LASALLE CORRECTIONS, LLC           §
and LaSalle Southwest Corrections, et al §
                        De fe n d an ts  §

            BOWIE COUNTY, TEXAS, CITY OF TEXARKANA, ARKANSAS,
              REGINA LYNCH AND LASALLE DEFENDANTS’ ANSWER
  TO PLAINTIFF’S FOURTH AMENDED COMPLAINT SUBJECT TO MOTION TO DISMISS

       Defendants, Bowie County, Texas, City of Texarkana, Arkansas, Regina Lynch and
Southwestern Correctional, L.L.C. d/b/a LaSalle Corrections, L.L.C., LaSalle Southwest

Corrections, and LaSalle Management Company, L.L.C., file this answer to Plaintiff’s Fourth

Amended Complaint, specifically subject to their Motion to Dismiss pursuant to Federal Rule
of Civil Procedure 12(b)(6), and state as follows:



                                   A. Admissions & Denials

       1.     Defendants deny the allegations of paragraph 1 of the complaint.
       2.     Defendants deny the allegations of paragraph 2 of the complaint.
       3.     Defendants admit jurisdictional allegations related to federal question and civil

rights jurisdiction. Defendants are without sufficient information to admit or deny the
remaining allegations of paragraph 3 of the complaint.
       4.     Defendants deny the allegations of paragraph 4 of the complaint.

       5.     Defendants deny the allegations of paragraph 5 of the complaint.
       6.     Defendants are without sufficient information to admit or deny the allegations

of paragraph 6 of the complaint.
       7.     Defendants are without sufficient information to admit or deny the allegations
of paragraph 7 of the complaint.

       8.     Defendants are without sufficient information to admit or deny the allegations
of paragraph 8 of the complaint.

       9.     Defendants are without sufficient information to admit or deny the allegations
of paragraph 9 of the complaint.
       10.    Defendants are without sufficient information to admit or deny the allegations

of paragraph 10 of the complaint.
       11.    Defendants admit that Defendant Southwest Correctional, L.L.C. d/b/a

LaSalle Corrections, L.L.C. and LaSalle Southwest Corrections (hereinafter “LaSalle”) is a
Texas limited liability company doing business in this judicial district. Defendants specifically

deny the allegation that LaSalle is “owned, controlled or managed by Defendant LaSalle

Management Company, L.L.C.”. Defendants deny the remaining allegations contained in
paragraph 11 of the complaint.

       12.    Defendants admit that LaSalle Management Company, L.L.C. is a Louisiana

limited liability company. Defendants specifically deny that LaSalle Management is the

parent company of Defendant LaSalle and is responsible in any way for the Bi-State Jail.
Defendants deny the remaining allegations in paragraph 12.
       13.    Defendants admit that Bowie County is a governmental entity and political

subdivision of the State of Texas. Defendants deny all other allegations in paragraph 13.
       14.    Defendants admit that the City of Texarkana, Arkansas is a governmental
entity and political subdivision of the State of Arkansas. Defendants deny all other

allegations in paragraph 14.



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       15.    Defendants admit the entry of the contract between Bowie County, Texas and
Southwestern Correctional, L.L.C.. Defendants deny all other allegations of paragraph 15.

       16.    Defendants are without sufficient information to admit or deny the allegations
of paragraph 16 of the complaint.

       17.    Defendants admit the allegations of paragraph 17 of the complaint.
       18.    Defendants are without sufficient information to admit or deny the allegations
of paragraph 18 of the complaint.

       19.    Defendants are without sufficient information to admit or deny the allegations
of paragraph 19 of the complaint.

       20.    Defendants are without sufficient information to admit or deny the allegations
of paragraph 20 of the complaint.

       21.    Defendants deny the allegations of paragraph 21 of the complaint.

       22.    Defendants deny the allegations of paragraph 22 of the complaint.
       23.    Defendants deny the allegations of paragraph 23 of the complaint.

       24.    Defendants deny the allegations of paragraph 24 of the complaint as to LaSalle

Management. Defendants admit the allegations of paragraph 24 of the complaint as to

Southwestern Correctional, L.L.C. d/b/a LaSalle.
       25.    Defendants admit that Southwestern Correctional, L.L.C. maintained a
contract with Dr. Jagdish Shah. Defendants deny the allegations of paragraph 25 of the

complaint.
       26.    Defendants admit that Morgan Angerbauer was a Type I diabetic. Defendants
deny all other allegations of paragraph 26.

       27.    Defendants admit the allegations of paragraph 27 of the complaint.



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       28.    Defendants admit that Ms. Angerbauer was given 15 units of insulin at or near
11:15 a.m. on June 29, 2016 and that she was not given intravenous fluids. Defendants deny

all other allegations of paragraph 28 of the complaint.
       29.    Defendants admit the allegations of paragraph 29 of the complaint.

       30.    Defendants admit the allegations of paragraph 30 of the complaint.
       31.    Defendants admit the allegations of paragraph 31, sentences one and two of
the complaint regarding regular testing at approximately 3:20 a.m. on June 30, 2016.

Defendants are without sufficient information to admit or deny the allegations of sentence
three of paragraph 31 of the complaint.

       32.    Defendants are without sufficient information to admit or deny the allegations
of paragraph 32 of the complaint.

       33.    Defendants admit the allegations of paragraph 33 of the complaint.

       34.    Defendants admit Morgan Angerbauer refused the test, but deny that the
nurse could “require” the test from an inmate who refused testing.

       35.    Defendants deny the allegations of paragraph 35 of the complaint.

       36.    Defendants deny the allegations of paragraph 36 of the complaint.

       37.    Defendants deny the allegations of paragraph 37 of the complaint.
       38.    Defendants deny the allegations of paragraph 38 of the complaint and
specifically deny that the testing device was an Accu-Chek device.

       39.    Defendants admit that, according to the state crime lab, the cause of death was
diabetic ketoacidosis and that the blood sugar at the time of death was 813. Defendants deny
all other allegations of paragraph 39 of the complaint.

       40.    Defendants admit that Ms. Angerbauer had many instances where her blood
sugar was higher than 813 and deny the remaining allegations of paragraph 40 of the

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complaint.
       41.    Defendants deny the allegations of paragraph 41 of the complaint.

       42.    Defendants deny the allegations of paragraph 42 of the complaint.
       43.    Defendants deny the allegations of paragraph 43 of the complaint.

       44.    Defendants admit the allegations of paragraph 44 of the complaint.
       45.    Defendants deny the allegations of paragraph 45 of the complaint.
       46.    Defendants deny the allegations of paragraph 46 of the complaint.

       47.    Defendants deny the allegations of paragraph 47 of the complaint.
       48.    Defendants deny the allegations of paragraph 48 of the complaint.

       49.    Defendants deny the allegations of paragraph 49 of the complaint.
       50.    Defendants deny that there was a pattern, practice or custom of failing to

properly monitor inmates and detainees with serious medical and/or mental health issues.

Defendants admit that it received a “notice of non-compliance” related to the death of
Morgan Angerbauer, which was quickly rectified. Defendants deny the remaining allegations

of paragraph 50 of the complaint.

       51.    Defendants deny the allegations of paragraph 51 of the complaint.

       52.    Defendants deny the allegations of paragraph 52 of the complaint.
       53.    Defendants deny the allegations of paragraph 53 of the complaint.
       54.    Defendants deny the allegations of paragraph 54 of the complaint.

       55.    Defendants deny the allegations of paragraph 55 of the complaint.
       56.    Defendants deny the allegations of paragraph 56 of the complaint.
       57.    Defendants deny the allegations of paragraph 57 of the complaint.

       58.    Defendants deny the allegations of paragraph 58 of the complaint.
       59.    Defendants deny the allegations of paragraph 59 of the complaint.

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60.   Defendants deny the allegations of paragraph 60 of the complaint.
61.   Defendants deny the allegations of paragraph 61 of the complaint.

62.   Defendants deny the allegations of paragraph 62 of the complaint.
63.   Defendants deny the allegations of paragraph 63 of the complaint.

64.   Defendants deny the allegations of paragraph 64 of the complaint.
65.   Defendants deny the allegations of paragraph 65 of the complaint.
66.   Defendants deny the allegations of paragraph 66 of the complaint.

67.   Defendants deny the allegations of paragraph 67 of the complaint.
68.   Defendants deny the allegations of paragraph 68 of the complaint.

69.   Defendants deny the allegations of paragraph 69 of the complaint.
70.   Defendants deny the allegations of paragraph 70 of the complaint.

71.   Defendants deny the allegations of paragraph 71 of the complaint.

72.   Defendants deny the allegations of paragraph 72 of the complaint.
73.   Defendants deny the allegations of paragraph 73 of the complaint.

74.   Defendants deny the allegations of paragraph 74 of the complaint.

75.   Defendants deny the allegations of paragraph 75 of the complaint.

76.   Defendants deny the allegations of paragraph 76 of the complaint.
77.   Defendants deny the allegations of paragraph 77 of the complaint.
78.   Defendants deny the allegations of paragraph 78 of the complaint.

79.   Defendants deny the allegations of paragraph 79 of the complaint.
80.   Defendants deny the allegations of paragraph 80 of the complaint.
81.   Defendants deny the allegations of paragraph 81 of the complaint.

82.   Defendants deny the allegations of paragraph 82 of the complaint.
83.   Defendants deny the allegations of paragraph 83 of the complaint.

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       84.     Defendants deny the allegations of paragraph 84 of the complaint.
       85.     Defendants deny the allegations of paragraph 85 of the complaint.

       86.     Defendants deny the allegations of paragraph 86 of the complaint.
       87.     Defendants deny the allegations of paragraph 87 of the complaint.

       88.     Defendants deny the allegations of paragraph 88 of the complaint.
       89.     Defendants deny the allegations of paragraph 89 of the complaint.
       90.     Defendants deny the allegations of paragraph 90 of the complaint.

       91.     Defendants deny the allegations of paragraph 91 of the complaint.
       92.     The Jury Demand does not contain any factual allegation to admit or deny.

       93.     The Prayer does not contain any factual allegation to admit or deny.


                                   B. Affirmative Defenses

       94.     Qualified Immunity. Defendants assert the affirmative defense of qualified
(“good faith”) immunity with regard to any claim against them in their individual capacity

because it did not violate any clearly established statutory or constitutional rights of which a

reasonable person would have known when performing discretionary functions.

       95.     Absolute Immunity. Defendants assert the affirmative defense of absolute
immunity which protects public officials in their individual capacity.
       96.     Sovereign/Governmental Immunity. Defendants assert the affirmative defense of

sovereign and governmental immunity which protects the States, their agencies, political
subdivisions and officials from suit and liability.
       97.     Official Immunity. Defendants assert the affirmative defense of official immunity

which protects governmental employees from personal liability.



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          98.    No Vicarious/Respondeat Superior Liability. Defendants cannot be held generally
liable under a theory of repondeat superior or for the torts of employees, subordinates or

co-workers.
          99.    Municipal Immunity. Defendants assert the affirmative defense of municipal

immunity because the plaintiff cannot establish a deprivation of rights protected by the
Constitution or Federal law that was inflicted pursuant to an official, municipal, county, or
governmental policy. Defendants assert that the Plaintiff cannot establish that any official’s

deliberate conduct was the “moving force” behind the injuries alleged. Therefore, the
Plaintiff cannot establish a causal link between any actions and any deprivation of federal

rights.
          100.   Failure to Exhaust Remedies. Defendants assert the affirmative defense of failure

to exhaust administrative and judicial remedies. More specifically, Angerbauer failed to

exhaust the two-step grievance procedure with regard to all issues raised in the complaint.
          101.   Assumption of the Risk. Defendants assert the affirmative defense of

Angerbauer’s assumption of the risk.

          102.   Contributory or Comparative Negligence. Defendants assert the affirmative defenses

of Angerbauer’s contributory or comparative negligence, including but not limited to the
following:
          a.     Use of methamphetamine despite knowledge regarding the likelihood of

                 deadly consequences.
          b.     Noncompliance with food intake regimen despite knowledge of deadly
                 consequences.

          c.     Years of noncompliance with blood sugar stabilization, despite knowledge of
                 deadly consequences.

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       d.     Failing to inform jail staff that she was among the small percentage of insulin-
              dependent diabetics who was medically determined to be “brittle”.

       e.     Failing to inform staff that she had been warned by medical care providers that
              she had a “high risk of mortality”.

       f.     Failing to inform staff that she had been informed by medical care providers
              that she was “not likely to live much longer”.
       g.     Failure to inform medical staff that she had been informed by her medical

              providers that her “prognosis is poor long term in view of her medical
              noncompliance and substance abuse issues”.

       h.     Failing to allow the use of the sliding scale protocol within the Bi-State Jail
              calling for pre-meal blood sugar checks and insulin administration based upon

              pre-meal checks.

       i.     Repeated refusal of blood sugar testing so as to allow administration of insulin,
              if needed, including a refusal after earlier stating to Nurse Johnson during pill

              pass to the effect of “you can check me now”.

       103.   Failure to Mitigate Damages. Defendants assert the affirmative defense of

Angerbauer’s failure to mitigate damages.
       104    Accord and Satisfaction. Defendants assert the affirmative defense of Plaintiff’s
accord and satisfaction of these claims through a duly executed and funded Compromise

Settlement and Indemnity Agreement and Release dated January 23, 2018.
       105    Release. Defendants assert the affirmative defense of Plaintiff’s release of these
claims through a duly executed and funded Compromise Settlement and Indemnity

Agreement and Release dated January 23, 2018.



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       106.    Upon subsequent investigation into the facts of this case, Defendants reserve
the right to petition the Court for leave to amend their answer or affirmative defenses.



                                            C. Prayer

       WHEREFORE PREMISES CONSIDERED, Defendants pray that upon final
hearing this Court dismiss Plaintiff’s claims against Defendants with prejudice; and all costs
of court, attorneys’ fees, and all other relief to which they may be justly entitled will be

awarded to Defendants and for such other and further relief to which they may be entitled.
                                             Respectfully submitted,




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                                             Southwest, and Regina Lynch




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                                   CERTIFICATE OF SERVICE

        The undersigned certifies that on the 16th day of August, 2018, this document was filed with
the Clerk of the U.S. District Court for the Eastern District of Texas and served to counsel of record
via CM/ECF.

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